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April 17, 2024
The Honorable Donna M. Ryu
United States District Court for the Northern District of California
Oakland Courthouse, Courtroom 4 – 3rd Floor
1301 Clay Street
Oakland, CA 94612

       Re:     Doe 1, et al. v. GitHub, Inc., et al.; Lead Case No. 4:22-cv-06823-JST

Dear Judge Ryu:

Plaintiffs seek an order compelling OpenAI to provide complete responses to Requests for
Production Nos. 28-33 and Interrogatory No. 3. OpenAI believes the request should be denied.
Counsel met and conferred by video on April 10, 2024, but are at an impasse.1

A.     Request for Production Nos. 28-33

               1. Plaintiffs’ Position

Request for Production Nos. 28-33 seek documents OpenAI has provided to government entities
or political lobbying groups on three discrete topics central to this case: generative AI
technology, GitHub, and Copilot. See RFP No. 28 (seeking documents OpenAI provided to U.S.
regulatory entities); RFP Nos. 31 and 32 (seeking similar submissions to foreign regulators and
to Congress); RFP No. 29 (seeking Hart Scott Rodino submissions to the FTC and DOJ
regarding acquisitions of interests in OpenAI and GitHub) and RFP No. 30 (seeking SEC filing
regarding the same); RFP No. 33 (requesting documents sufficient to identify the lobbyists
OpenAI has used to influence generative AI policy in Congress in its favor). In response,
OpenAI lodges a series of meritless, boilerplate objections to these RFPs and flat out refuses to
provide relevant discovery to which Plaintiffs are entitled.

Communications with government entities are clearly discoverable where they are relevant to
issues in a case. See, e.g., Martin v. Monsanto Co 2017 WL 5172205, at *5 (C.D. Cal. Apr. 10,
2017) (compelling discovery of communications with state and federal regulatory bodies). The
burden of producing such discovery is also minimal since documents like these have already
typically been “found, reviewed and organized.” Waldman v. Wachovia Corp., 2009 WL 86763,
at *2 (S.D.N.Y. Jan. 12, 2009). OpenAI is also presently valued at 80 billion dollars and can
afford to produce these documents. Such discovery requests are also obviously proportional to
the needs of a case like this one—historic in every respect, raising issues of heightened public
interest and potentially implicating billions of dollars in economic losses. See Fed. R. Civ. P.
26(b)(1); In re Google RTB Consumer Priv. Litig., No. 21CV02155YGRVKD, 2022 WL
1212015, at *1 (N.D. Cal. Apr. 25, 2022).

Contrary to OpenAI’s claims, its statements to government entities about its development of

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 Current Case Deadlines: (1) Fact Discovery Cut-off: September 27, 2024; (2) Expert
Discovery Cut-off: February 21, 2025; (3) Dispositive Motion Hearing: May 16, 2024; (4) Class
Certification Motion: March 27, 2025; (4) Pretrial Conference and Trial Dates: not scheduled.
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generative AI technology, its relationship with Microsoft, and its creation of Copilot is relevant
to Plaintiffs’ DMCA and contract-based claims. Over the last few years, OpenAI has been the
subject of significant government and regulatory scrutiny given its role in developing generative
AI. The FTC, for example, recently issued a Civil Investigative Demand to OpenAI seeking,
among other things, a detailed description of all the training data OpenAI has used to develop
each Large Language Model it has developed, as well as a list of all beneficial owners of 5% or
more of OpenAI. Plaintiffs merely seek discovery of documents already provided by OpenAI to
regulatory agencies and legislative committees about these issues. The burden of (re)production
is negligible as these documents have already been collected and produced. OpenAI’s objections
as to proportionality and scope are thus unfounded.

These RFPs further seek discovery about OpenAI’s ownership and relationship with Microsoft.
The FTC, as well as various foreign and domestic regulators, have sought information about this
relationship. Documents provided by OpenAI to these entities about its relationship with
Microsoft are squarely relevant both to Plaintiffs’ claims that Microsoft and OpenAI maintain a
joint venture relationship regarding the development of Copilot, as well as to questions of intent.
See, e.g., Rumble, Inc. v. Google LLC, 2023 WL 3751797, at *7-8 (N.D. Cal. May 31, 2023)
(granting plaintiff's motion to compel documents produced to federal and state enforcers and
legislators); In re Plastics Additives Antitrust Litigation, 2004 WL 2743591, at *12-13 (E.D. Pa.
Nov. 29, 2004) (collecting cases).

Relatedly, Plaintiffs’ requests for HSR filings OpenAI has provided to federal enforcers and
regulators and for SEC filings regarding putative attempts at acquiring interests in OpenAI or
GitHub (RFP Nos. 29 & 30) are relevant to Plaintiffs’ “joint venture” allegations, as well as
Microsoft’s influence at OpenAI, for instance, training models without abiding by existing
licenses or without otherwise seeking to license training material.

Plaintiffs’ Final Proposed Compromise: RFP Nos. 28, 31, 32, and 33, which ask OpenAI to
reproduce any regulatory submissions, can be narrowed to documents regarding LLMs, GitHub,
or Copilot, and the ownership and control of OpenAI. OpenAI should produce responsive
documents to RFPs 29 and 30.

               2. OpenAI’s Position

RFP Nos. 28, 31, 32, and 33 seek documents that are irrelevant. Only two claims remain against
OpenAI (with a motion to dismiss pending)—one for violation of 17 U.S.C. § 1202(b) (the
“DMCA claim”), and another for breach of the licenses that allegedly apply to Plaintiffs’
code. Both claims relate only to one OpenAI product: Codex. These claims will depend on a
discrete set of facts—the contents of Plaintiffs’ code, the alleged copyright management
information (CMI) conveyed in connection with that code, and how OpenAI allegedly “trained”
the models used for Codex as to that CMI. But Plaintiffs’ RFPs seek a practically unbounded
universe of documents, so long as they were given to a government agency. Because OpenAI is
an industry leader, it has produced documents to many government entities on a wide variety of
topics relating to generative AI. For example, OpenAI is producing documents to the FTC in
connection with an investigation focused on privacy and consumer protection; that investigation
has nothing to do with Plaintiffs’ claims, but Plaintiffs demand the documents anyway.
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Courts have repeatedly recognized that requesting “all documents produced in another matter is
not generally proper” because the propounding party “cannot meet its burden to establish
relevance, as the propounding party is not in a position to even know what they are actually
asking for.” Ludlow v. Flowers Foods, Inc., No. 18-cv-1190, 2019 WL 6252926, at *18 (S.D.
Cal. Nov. 22, 2019; see also King Cnty. v. Merrill Lynch & Co., Inc., No. C10-1156-RSM, 2011
WL 3438491, at *3 (W.D. Wash. Aug. 5, 2011) (“Cloned discovery, requesting all documents
produced or received during other litigation or investigations, is irrelevant and immaterial unless
the fact that particular documents were produced or received by a party is relevant to the subject
matter of the subject case.”) (cleaned up); Wilmington Trust Co. v. Boeing Co., No. C20-0402-
RSM-MAT, 2020 WL 4125106, at *2 (W.D. Wash. July 20, 2020) (rejecting discovery of “all
documents produced or relied upon” in “responding to requests from governmental agencies”);
N.J. Carpenters Health Fund v. DLJ Mortg. Cap., Inc., No. 08 Civ. 5653 (PAC), 2012 WL
13135408 (S.D.N.Y. Mar. 2, 2012) (denying discovery request that was described as “you gave
some documents to the government concerning another investigation, so give them to me”).

The cases that Plaintiffs cite do not help them. Martin involved false advertising claims based on
Monsanto’s using the phrase “makes up to.” 2017 WL5172205 at *1. The plaintiff sought
documents produced to the government concerning the use of that phrase. Id. at *3. The court
overruled Monsanto’s relevance objection because a “regulatory body’s interpretation of a
Monsanto claim or statement similar to ‘makes up to’ may implicate consumer reliance and
purchasing behavior for its products.” Id. at *5. Plaintiffs’ other cases, Rumble and In re Plastics
Additives Antitrust Litigation, involved antitrust plaintiffs seeking documents produced to the
government in related antitrust investigations. But here, Plaintiffs have “fail[ed] to establish a
clear logical link between these RFPs and any claim or defense in this case.” Elgindy v. Aga Serv.
Co., No. 20-cv-06304, 2021 WL 5083761, at *4 (N.D. Cal. Nov. 2, 2021). Plaintiffs nevertheless
argue that they are entitled to documents based on relevance to their “allegations.” But that is not
the rule. Plaintiffs must show relevance to an element of a claim or defense. Elgindy, 2021 WL
5083761 at *2; see also Fed. R. Civ. P. 26(b). They haven’t done so.

RFP Nos. 29 and 30 are equally problematic. Documents about ownership interests in OpenAI
provided to government agencies are not relevant to CMI, Plaintiffs’ alleged licenses or code, or
anything else that would “tend[] to make the existence of any fact that is of consequence to the
determination of the claim[s] more or less probable.” See Manzo v. Cnty. of Santa Clara, No. 17-
cv-01099, 2019 WL 2866047, at *2 (N.D. Cal. July 3, 2019); see also Blast Mot., Inc. v. Zepp
Labs., Inc., 2015 WL 12564315, at *3 (S.D. Cal. Dec. 2, 2015) (denying motion to compel
documents sufficient to identify investors with greater than 5% ownership interest as irrelevant to
patent claims); AngioScore, Inc. v. TriReme Med., Inc., No. 12-cv-03393, 2014 WL 6706873, at
*2-3 (N.D. Cal. Nov. 25, 2014) (ownership interests of board of directors not relevant to patent
infringement and state law claims); Sadofsky v. Fiesta Prods., LLC, 252 F.R.D. 143, 153
(E.D.N.Y. 2008) (ownership interests in defendant not relevant to dispute over patent royalty
agreement). As with Request Nos. 28, 31, 32, and 33, these Requests also seek impermissibly
broad and overly burdensome “cloned discovery.”

Additionally, the Requests impose an undue burden. Requests for “duplicate searches”—one for
relevant documents generally and another for relevant documents provided to the government in
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unrelated matters—are “definitionally unduly burdensome, as it would consume resources
without providing any additional benefit to the propounding party.” Ludlow, 2019 WL 6252926,
at *18; see also In re ATM Fee Antitrust Litig., No. 04-cv-02676, 2007 WL 1827635, at *5 (N.D.
Cal. June 25, 2007) (denying motion to compel documents “submitted pursuant to the Hart-
Scott-Rodino Act” because “the potential for turning up a needle does not require Defendants to
sift through this haystack”). Plaintiffs misunderstand Waldman. That case addressed whether a
plaintiff had shown “undue prejudice” to justify lifting an automatic discovery stay under the
Private Securities Litigation Reform Act, an entirely different standard. In any event, the court
there found that the burden of lifting such a stay would be slight if “a defendant has already
found, reviewed and organized the documents.” 2009 WL 86763 at *2 (cleaned up). That is not
the case here. Here, OpenAI would need to re-review any previously produced documents to
determine whether they are relevant and unobjectionable in this case. Since OpenAI is already
searching for documents in response to Plaintiffs’ properly propounded RFPs, doing so would be
the sort of “definitionally unduly burdensome” “duplicate search[]” that courts have rejected.
Ludlow, 2019 WL 6252926, at *18.

OpenAI’s Final Proposed Compromise: Plaintiffs should serve discovery requests targeted at
documents relevant and proportional to the claims in this case.

B.     Interrogatory No. 3

               1. Plaintiffs’ Position

Interrogatory No. 3 seeks information about individuals and entities with a beneficial ownership
interest in OpenAI of greater than 5%. Ex. 1. Beneficial ownership of greater than 5%
presumptively confers a material level of control over a corporation. The Court should order
OpenAI to respond to Interrogatory No. 3.

Rule 26 proportionality factors apply with equal force here. The interrogatory seeks
identification of persons or entities who exercise presumptive influence over OpenAI’s
management and direction, including decisions relevant to this case. This interrogatory follows
long established standards for determining influence and control based on beneficial ownership.

For example, sections 13(d) and 13(g) of the Securities Exchange Act generally require any
person(s) who acquire 5% or more of an issuer’s Section 13(d) securities to report such
ownership to the SEC in order “to alert investors to potential changes in control[.]” Lowinger v.
Morgan Stanley & Co. LLC, 841 F.3d 122, 132 (2d Cir. 2016). In addition, the F.C.C. determined
5% is an appropriate ownership benchmark for the purposes of its efforts to limit the multiple
ownership of broadcast facilities because an owner of 5% or more “would ordinarily be one of
the two or three largest shareholders,” large enough “to be in a position to command the attention
of management.” Attribution of Ownership Interests, 97 FCC 2d 997, 1005-08 (1984). This
reasoning was upheld in a subsequent Court of Appeals decision. Time Warner Ent. Co., L.P. v.
F.C.C., 240 F.3d 1126, 1140 (D.C. Cir. 2001). Such individuals are therefore likely to possess
discoverable information relevant to this action.
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Interrogatory No. 3 simply asks Defendant to identify the names of individuals or entities that
own an interest of 5% or more. This is a routine first-wave discovery request. Such individuals or
entities may have discoverable documents or information relevant to the claims in this action.
Other such individuals may have exerted control or voiced concerns over issues relevant in this
case (like the unlawful use of training data without regard to licenses). See Time Warner, 240
F.3d at 1140. There is no burden of producing it. To the extent OpenAI has privacy concerns, the
Protective Order can adequately address them.

Plaintiffs’ Final Proposed Compromise: OpenAI should supplement its response to
Interrogatory 3 and identify all beneficial owners of 5% or more of OpenAI.

               2. OpenAI’s Position

Plaintiffs claim that OpenAI’s investors may have relevant documents or control over OpenAI’s
decisions. Neither argument shows relevance. In Blast Motion, Inc. v. Zepp Labs, Inc., the court
rejected a motion to compel production in response to a substantially identical RFP seeking
“documents sufficient to identify any investor with an ownership interest of at least 5%” in the
defendant company. 2015 WL 12564315, at *3. Like here, plaintiff in that case sought investor
information to “help it identify additional potential witnesses” and to “assist [it] in understanding
who has a financial interest or stake in the case.” Id. But the court denied the motion, explaining
that plaintiff’s “desire to learn who has a financial interest in this litigation is not relevant” and
that plaintiff “does not need this information to identify potential witnesses.” Id. The same is true
here. Plaintiffs’ “desire to learn” who has “control” over OpenAI is overly broad on its face and
untethered to any element of the remaining DMCA or breach of contract claims.

The cases that Plaintiffs cite do not suggest that investors, as a class, necessarily have relevant
information or documents. Plaintiffs show no relevant connection between the SEC’s or FCC’s
views on holding a 5% interest in a company and the claims in this case. Because Plaintiffs have
not met their burden to establish the relevance of the information sought by its request, the Court
should deny Plaintiffs’ motion. Elgindy, 2021 WL 5083761, at *2.

OpenAI’s Final Proposed Compromise: This interrogatory seeks irrelevant information and
OpenAI will not respond to it.
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Dated: April 17, 2024                 By:         /s/ Joseph R. Saveri
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Style name: Default Style
Intelligent Table Comparison: Active
Original filename: Copilot DRAFT Joint Letter Brief first edits.docx
Modified DMS: dm://NEW_YORK/2719020/6
Changes:
Add                                                            35
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Table Delete                                                   0
Table moves to                                                 0
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Embedded Graphics (Visio, ChemDraw, Images etc.)               0
Embedded Excel                                                 0
Format changes                                                 0
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                                   FILER’S ATTESTATION

       Pursuant to Civil Local Rule 5-1(h)(3), I attest under penalty of perjury that concurrence

in the filing of the foregoing document has been obtained from all other signatories to this

document.

 Dated: April 17, 2024                              By:    /s/ Joseph R. Saveri
                                                           Joseph R. Saveri
